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Based upon information contained in I.C. File LH-0305 and upon an investigation made by the Investigations Section of the Industrial Commission, the Full Commission makes the following:
                            FINDINGS OF FACT
1.  Decedent, James B. Collins, was employed as a law enforcement officer by the Bladen County Sheriff's Department at the time of his death on 26 September 2001.
2.  Decedent's death occurred in the course and scope of his employment when he was fatally injured in an automobile accident while assisting the Clarkton Police on official duty.
3.  At the time of his death, and for at least six months prior to his death, decedent was married to and residing with Tiffany L. Collins. Decedent is survived by two dependent children, James Darren Collins, age 10, and Nicholas Randall Collins, age 2, who resided with decedent and were totally dependant upon him for support on 26 September 2001.
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Based upon the foregoing findings of fact, the Full Commission concludes as follows:
                           CONCLUSIONS OF LAW
1.  Decedent was an eligible law enforcement officer employed by the Bladen County Sheriff's Department as defined in N.C. Gen. Stat. §143-166.2(d), at the time of his death on 26 September 2001.
2.  Decedent's death was the direct result of injuries incurred in the course of his official duties, as defined by N.C. Gen. Stat. §143-166.2(f).
3.  Decedent is survived by his wife, Tiffany L. Collins, who is eligible for the award of death benefits under N.C. Gen. Stat. §143-166.1 et seq.
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Based upon the foregoing findings of fact and conclusions of law, the Full Commission enters the following:
                                  AWARD
1.  The sum of $25,000.00 is hereby awarded to Tiffany L. Collins as the qualified surviving spouse of James B. Collins, as follows:  the sum of $10,000.00 shall be paid immediately to Tiffany L. Collins. Thereafter, the sum of $5,000.00 shall be paid annually to Tiffany L. Collins as long as she remains unmarried until such time as the balance of all payments equal $25,000.00.  This sum shall be paid from funds appropriated by the State Treasurer for the purpose set forth in N.C. Gen. Stat. § 143-166.1 et seq.  If Tiffany L. Collins becomes ineligible for benefits before the Award is fully paid, the balance of the payments under this Award shall be made to other eligible person(s).
A copy of this Award shall be furnished the Office of the State Treasurer for the purpose of having compliance with this Award, and the Commission shall be advised of the date or dates of payments made.
No costs are assessed before the Commission.
This the ___ day of December, 2001.
                                   S/___________________ BERNADINE S. BALLANCE COMMISSIONER
CONCURRING:
  S/_____________ THOMAS J. BOLCH COMMISSIONER
  S/_______________ CHRISTOPHER SCOTT COMMISSIONER